
209 Md. 628 (1956)
120 A.2d 200
THOMPSON
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[H.C. No. 21, October Term, 1955.]
Court of Appeals of Maryland.
Decided February 9, 1956.
*629 Before BRUNE, C.J., and DELAPLAINE, COLLINS, HENDERSON and HAMMOND, JJ.
HAMMOND, J., delivered the opinion of the Court.
In this application for leave to appeal from the denial of the writ of habeas corpus, petitioner, who was found not guilty of larceny but guilty of receiving stolen goods, and sentenced to five years in the House of Correction, contends that it was error to admit the testimony of the wife of his accomplice, on the ground that she was in fact also an accomplice. He complains generally of the inadmissibility of other evidence which helped to convict him. We have held repeatedly that attacks on the competency, admissibility or sufficiency of the evidence cannot serve as the basis for the writ of habeas corpus. Canter v. Warden, 207 Md. 616; Smith v. Warden, 207 Md. 628; Medley v. Warden, 207 Md. 634; Cummings v. Warden, 206 Md. 637; Stokes v. Warden, 205 Md. 629.
Application denied, with costs.
